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                                                                                CALIFORNIA
                                                                         CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                         )     DEFENDANTS ( Check box if you are representing yourself                                      )
 KRISTI MOLNAR                                                                               AMTRUST FINANCIAL SERVICES, INC.


(b) County of Residence of First Listed Plaintiff Orange County                              County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES)                                                             (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                           Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                         representing yourself, provide the same information.
Daniel R. Watkins (SBN 163571) / Jeffrey A. Katz (SBN 137246)                                Andrea F. Oxman (SBN 252646) / Alice E. Carranza Vega (SBN 328474)
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II. BASIS OF JURISDICTION (Place an X in one box only.)                             III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                           (Place an X in one box for plaintiff and one for defendant)
                                                                                                                    PTF        DEF                                             PTF        DEF
    1. U.S. Government                   3. Federal Question (U.S.                  Citizen of This State                 1       1    Incorporated or Principal Place               4        4
    Plaintiff                           Government Not a Party)                                                                        of Business in this State
                                                                                    Citizen of Another State                           Incorporated and Principal Place              5        5
                                                                                                                          2       2
                                                                                                                                       of Business in Another State
    2. U.S. Government                    4. Diversity (Indicate Citizenship        Citizen or Subject of a
                                         of Parties in Item III)                    Foreign Country                       3       3    Foreign Nation                                6        6
    Defendant

IV. ORIGIN (Place an X in one box only.)                                                                                                         6. Multidistrict         8. Multidistrict
    1. Original             2. Removed from         3. Remanded from       4. Reinstated or           5. Transferred from Another                 Litigation -               Litigation -
       Proceeding              State Court             Appellate Court        Reopened                  District (Specify)                        Transfer                   Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                        Yes           No (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                           Yes        No                       MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
         28 U.S.C. Sections 1332, 1441(a) and (b)

VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                  CONTRACT            REAL PROPERTY CONT.                 IMMIGRATION                  PRISONER PETITIONS                        PROPERTY RIGHTS
    375 False Claims Act           110 Insurance             240 Torts to Land              462 Naturalization                  Habeas Corpus:                 820 Copyrights
                                                             245 Tort Product                Application                      463 Alien Detainee
    376 Qui Tam                    120 Marine                                                                                                                  830 Patent
                                                              Liability                  465 Other                            510 Motions to Vacate
    (31 USC 3729(a))                                                                                                                                           835 Patent - Abbreviated
                                   130 Miller Act            290 All Other Real           Immigration Actions.                Sentence
                                                              Property                                                                                         New Drug Application
    400 State                                                                                 TORTS                           530 General
                                   140 Negotiable
    Reapportionment                                                                    PERSONAL PROPERTY                      535 Death Penalty                840 Trademark
                                   Instrument
    410 Antitrust                                                  TORTS                                                                                       880 Defend Trade Secrets Act
                                   150 Recovery of          PERSONAL INJURY                 370 Other Fraud                         Other:
    430 Banks and Banking          Overpayment &                                                                                                               of 2016 (DTSA)
                                                             310 Airplane                                                     540 Mandamus/Other
                                   Enforcement of                                           371 Truth in Lending
    450 Commerce/ICC                                         315 Airplane                                                                                        SOCIAL SECURITY
                                   Judgment                                                 380 Other Personal                550 Civil Rights
    Rates/Etc.
                                                              Product Liability                                               555 Prison Condition            861 HIA (1395ff)
                                   151 Medicare Act                                          Property Damage
    460 Deportation                                          320 Assault, Libel &
                                                                                            385 Property Damage            560 Civil Detainee                  862 Black Lung (923)
    470 Racketeer Influ-           152 Recovery of            Slander
                                                                                             Product Liability              Conditions of
    enced & Corrupt Org.            Defaulted Student        330 Fed. Employers'                                                                               863 DIWC/DIWW (405 (g))
                                    Loan (Excl. Vet.)                                        BANKRUPTCY                     Confinement
    480 Consumer Credit                                       Liability
                                                                                                                          FORFEITURE/PENALTY                   864 SSID Title XVI
                                                             340 Marine                     422 Appeal 28
    490 Cable/Sat TV               153 Recovery of
                                                             345 Marine Product              USC 158                       625 Drug Related                    865 RSI (405 (g))
                                    Overpayment of
    850 Securities/Com-             Vet. Benefits             Liability                     423 Withdrawal 28              Seizure of Property 21
    modities/Exchange                                        350 Motor Vehicle               USC 157                        USC 881                                 FEDERAL TAX SUITS
                                   160 Stockholders'                                                                       690 Other
                                   Suits                     355 Motor Vehicle               CIVIL RIGHTS                                                      870 Taxes (U.S. Plaintiff or
    890 Other Statutory
    Actions                                                   Product Liability             440 Other Civil Right                     LABOR                     Defendant)
                                   190 Other                 360 Other Personal                                                                                871 IRS-Third Party 26 USC
    891 Agricultural Acts                                                                   441 Voting                        710 Fair Labor Standards
                                   Contract                   Injury                                                                                            7609
    893 Environmental              195 Contract                                                                               Act
    Matters                                                  362 Personal Injury-           442 Employment
                                    Product Liability                                                                         720 Labor/Mgmt.
                                                              Med Malpratice
    895 Freedom of Info.                                                                    443 Housing/                      Relations
    Act                            196 Franchise             365 Personal Injury-           Accommodations
                                                              Product Liability                                               740 Railway Labor Act
                                  REAL PROPERTY                                             445 American with
    896 Arbitration                                          367Health Care/                Disabilities-                     751 Family and Medical
                                   210 Land                   Pharmaceutical                                                  Leave Act
    899 Admin. Procedures                                                                   Employment
                                   Condemnation               Personal Injury
    Act/Review of Appeal of                                                                 446 American with                 790 Other Labor
    Agency Decision                220 Foreclosure            Product Liability
                                                                                            Disabilities-Other                Litigation
                                                             368 Asbestos
    950 Constitutionality of       230 Rent Lease &                                         448 Education                     791 Employee Ret. Inc.
                                                              Personal Injury
    State Statutes                 Ejectment                  Product Liability                                               Security Act


FOR OFFICE USE ONLY:                     Case Number: 2:22-cv-315


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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                            STATE CASE WAS PENDING IN THE COUNTY OF:                                        INITIAL DIVISION IN CACD IS:
                    Yes       No
                                                        Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                            Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                Orange                                                                                             Southern
corresponding division in response to
Question E, below, and continue from there.             Riverside or San Bernardino                                                                         Eastern



QUESTION B: Is the United States, or                B.1. Do 50% or more of the defendants who reside in          YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a                 the district reside in Orange Co.?                            Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?
                                                    check one of the boxes to the right                          from there.

                    Yes      No
                                                                                                                     NO. Continue to Question B.2.

                                               B.2. Do 50% or more of the defendants who reside in                  YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question C. If "yes," answer the district reside in Riverside and/or San Bernardino
Question B.1, at right.                                                                                              Enter "Eastern" in response to Question E, below, and continue
                                               Counties? (Consider the two counties together.)
                                                                                                                     from there.
                                                    check one of the boxes to the right                            NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.

QUESTION C: Is the United States, or                C.1. Do 50% or more of the plaintiffs who reside in the      YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a                 district reside in Orange Co.?                                Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?
                                                    check one of the boxes to the right                          from there.
                    Yes       No
                                                                                                                     NO. Continue to Question C.2.

                                               C.2. Do 50% or more of the plaintiffs who reside in the              YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer district reside in Riverside and/or San Bernardino
Question C.1, at right.                                                                                              Enter "Eastern" in response to Question E, below, and continue
                                               Counties? (Consider the two counties together.)
                                                                                                                     from there.
                                                    check one of the boxes to the right                            NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.

                                                                                                               A.                            B.                            C.

QUESTION D: Location of plaintiffs and defendants?                                                                                  Riverside or San             Los Angeles, Ventura,
                                                                                                      Orange County                Bernardino County             Santa Barbara, or San
                                                                                                                                                                  Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                 D.1. Is there at least one answer in Column A?                                               D.2. Is there at least one answer in Column B?

                                         Yes         No                                                                               Yes         No
                  If "yes," your case will initially be assigned to the                                       If "yes," your case will initially be assigned to the
                                SOUTHERN DIVISION.                                                                             EASTERN DIVISION.
  Enter "Southern" in response to Question E, below, and continue from there.                                 Enter "Eastern" in response to Question E, below.

                      If "no," go to question D2 to the right.                                     If "no," your case will be assigned to the WESTERN DIVISION.

                                                                                                         Enter "Western" in response to Question E, below.             
QUESTION E: Initial Division?                                                                                            INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                    SOUTHERN
QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                       Yes         No

                                                                                                                                       American LegalNet, Inc.
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                      NO                 YES

       If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                  NO                 YES

       If yes, list case number(s):


        Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by different judges.
        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                     labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT) :/s/ Alice E. Carranza Vega                                                                       DATE: January 14, 2022

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:
     Nature of Suit Code Abbreviation                        Substantive Statement of Cause of Action
                                                  All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                      HIA
                                                  include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))
        862                      BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                  923)
                                                  All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                      DIWC             all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))
                                                  All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                      DIWW             amended. (42 U.S.C. 405 (g))


        864                      SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                  amended.

        865                      RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C. 405 (g))


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